                                    UNITED STATES BANKRUPTCY COURT
                                         FOR THE DISTRICT OF ARIZONA

                                                    Minute Entry
Hearing Information:
                     Debtor:   CHARLES MICHAEL COLBURN
              Case Number:     2:21-BK-05407-MCW       Chapter: 7

       Date / Time / Room:     FRIDAY, SEPTEMBER 02, 2022 02:30 PM VIDEO CONF HRGS

      Bankruptcy Judge:        MADELEINE C. WANSLEE
           Courtroom Clerk:    TAYLER CARTER
            Reporter / ECR:    JUANITA PIERSON-WILLIAMS                                                               0.00


Matter:
          CONTINUED STATUS HEARING
          R / M #:   615 / 0


Appearances:

     GERALD L. SHELLEY, ATTORNEY FOR CHARLES MICHAEL COLBURN
     DAVID M. REAVES, TRUSTEE
     STEVEN D. JEROME, ATTORNEY FOR MEDMEN ENTERPRISES, INC.

Proceedings:                                                                                                   1.00

     Mr. Jerome understands Mr. Colburn may not appear at the continued Rule 2004 examinations
     scheduled for Tuesday, September 06, 2022 at 3:00 PM.

     Mr. Shelley is unsure if Mr. Colburn will attend the examinations in person. He informs the Court his
     client is interested in settlement discussions with MedMen Enterprises, Inc. He responds to the Court's
     questions. He states he is not qualified to engage in Fifth Amendment discussions and Mr. Kolsrud is
     unavailable Tuesday afternoon. He hopes the meeting on Tuesday morning with MedMen Enterprises,
     Inc. will be productive. If settlement discussions occur, his client will ask for a 10-day stay of all
     proceedings in this case.

     Mr. Jerome explains why he did not prepare for an 8-hour deposition. If Mr. Colburn appears, he will
     have two hours of questions and exhibits.

     Mr. Reaves provides an update. He states there is a settlement between the purchasers of the home
     and the title company. He anticipates filing a motion to approve the settlement on Tuesday or
     Wednesday.

     Mr. Jerome's client wants the Trustee to proceed with his administration.

     COURT: IF THE PARTIES ENGAGE IN NEGOTIATIONS AND SEEK TO CONTINUE THE RULE 2004
     EXAMINATIONS OF CHARLES MICHAEL COLBURN AND UNISYS TECHNICAL SOLUTIONS, LLC,
     COUNSEL MAY CONTACT ITS COURTROOM DEPUTY AND ADOPT A DATE PREVIOUSLY ESTABLISHED.




  Case
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